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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

RYAN TODD LE BOSS,

             Petitioner,
v.                                             Case No.: 1:24cv98-MW/MAF

RICK D. DIXON, Secretary,
Florida Department of Corrections,

          Respondent.
_________________________/

        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation, ECF No. 13, and has also reviewed de novo Petitioner’s

objections, ECF No. 16. In his objections, Petitioner continues to argue that he has

satisfied his burden to demonstrate that he is entitled to equitable tolling because the

delay in his learning about the outcome of his direct appeal caused him to file an

untimely petition. But Petitioner learned of the outcome of his direct appeal several

months before his deadline to file his petition. Equitable tolling does not apply when

the purported delay has not prevented you from filing before the deadline. Here,

Petitioner still had several months to file a timely petition after learning about the

outcome of his appeal, but he inexplicably failed to file a timely petition.
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       Accordingly,

       IT IS ORDERED:

       The report and recommendation, ECF No. 13, is accepted and adopted, over

the Petitioner’s objections, as this Court’s opinion. Respondent’s motion to dismiss,

ECF No. 9, is GRANTED. The Clerk shall enter judgment stating, “The § 2254

petition, ECF No. 1, is DISMISSED as untimely.” A certificate of appealability is

DENIED. In addition, leave to appeal in forma pauperis is DENIED. The Clerk

shall close the file.

       SO ORDERED on February 20, 2025.

                                       s/Mark E. Walker                   ____
                                       Chief United States District Judge




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